Case 2:05-cr-20099-BBD Document 20 Filed 09/02/05 Page 1 of 2

|N THE UN|TED STATES D|STRICT COURT
FOR THE WESTERN D|STRICT OF TENNESSEE
WESTERN D|V|SlON
UN|TED STATES OF AlVlERiCA
P|aintiff

VS.

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Fll-ED B'r _\.Li‘.§...._ o.c.

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CR. NO. 05-20099-D

M|CHAEL JONES

Defendant.

 

ORDER ON CONT|NUANCE AND SPECIFYING PER|OD OF EXCLUDABLE DELAY

AND SETT|NG

 

This cause came on for a report date on August 25, 2005. At that time, counsel for

the defendant requested a continuance of the September 6, 2005 trial date and

announced that the parties were ready to proceed to trial during the October rotation

calendar.

The Court granted the request and reset the trial date to the October rotation

calendar which begins October 3, 2005 with no further report date.

The period from September 16, 2005 through October 14, 2005 is excludable

under 18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for

additional time to prepare outweigh the need for a speedy tria|.

lT |S SO ORDERED this 2¢\_4_ day Of September, 2005.

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
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Honorable Berniee Donald
US DISTRICT COURT

